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IN THE UNITED STATES DISTRICT COURT
FOR TH]E DISTRICT OF IDAHO

P.R, a minor and S.R., her mother,
Case No. l-l7-CV-521-CWD
Plaintiffs,
PLA]NTIFFS S.R’S. TRIAL BRIEF
v.

SHOSHONE SCHOOL DISTRICT NO. 312.

Defendant.

 

 

Plaintiff P.R., a minor, by her natural parent and guardian S.R. and her counsel E. Lee
Schlender hereby submits this Trial Brief pursuant to Local Rule 16.3. Since this Brief is
being filed simultaneously with other pretrial submissions by the parties including witness
and exhibit lists, S.R. is unable to include objections to Defendant’s witnesses, exhibits, etc.,
as required by the Local Rule 16.3 (b). Thus if appropriate, S.R. will file a supplement to this

Trial Brief within seven days of Defendant’s tiling.

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INTRODUCTION

This civil rights case is scheduled for jury trial to begin on April 15, 2019 at 9:3O a.m.
The jury will decide the following issue: Whether Shoshone School District was deliberately
indifferent to the hostile environment experienced by P.R. that denied her the right to access

the educational opportunities and benefits offered all students by the district

P.R.‘s civil rights claim is brought pursuant to Title lX of the Education Amendments
of 1972. Title D( provides that: “no person in the United States shall, on the basis of sex, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination
under any education program or activity receiving Federal financial assistance.” 20 U.S.C. §
1681(a).

PROCEDURAL BACKGROUND

Plaintiffs’ original complaint, filed on December 27, 2017, set forth nine causes of
action. Counts One and Two allege violations of Title IX as to Defendant Shoshone School
District; Counts Three and Four allege Section 1983 claims against all three Defendants under
Title 42 of the United States Code; and Counts Five, Six, Seven, Eight and Nine allege claims

under state law under various theories

In response to the motion for summary judgment, Plaintiffs conceded Counts Three,
Five, Six, Seven, Eight, and Nine in the Complaint by “withdrawing” them. (Dkt. 30 at 2,

23.)1 Accordingly, the Court’s analysis is confined to Counts One, Two, and Four.

In a decision issued December 21, 2018, this court ordered that Defendants’ Motion
for Summary Judgment was granted in part and denied in part. Summary judgment was
granted, in part, on Count Four with respect to the Equal Protection claim and the Monell

claim, and denied on Counts One and Two, the alleged violations of Title IX. Counts Three,

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Five, Six, Seven, Eight, and Nine were dismissed without prejudice pursuant to Fed. Rule
Civ. P. 4l(a)(2).

TRIAL HOUSE KEEPING MATTERS

Trial Estimate. Plaintiff anticipates being able to present her case in two or three (3) trial
days aRer the jury is empaneled.

Relief Sought. P.R. seeks compensatory damages Plaintiff will also seek reasonable
attorney’s fees and costs.

Witnesses. Plaintiff's witness list is being provided to Defendants on April l, 2019, in
accordance with the Court’s Trial Order.

EM Plaintiff’s exhibit list is being filed on or before Apn'l l. Videotape evidence will
be provided to the court to be considered as sealed Clips from the video are identified in
Plaintiff's exhibit list. There is video from the school for April 24 and 25 2017 and from a
CARES interview.

Further discovery or motions. Plaintiff filed motions in limine.

Stigglations. The parties stipulated to dismiss the individual plaintiff S.R. and the defendant
parties Chapman and Waite. There is a stipulation as to certain joint exhibits.

Settlement negotiations T he parties have not successfully settled the case.

Attornezs ’ Fees. As set forth above, should Plaintif`f prevail on her claim, she intends to move
the Court for an award of reasonable attorneys fees and costs pursuant to 42 U.S.C. § 2000e-
5(k), 42 U.S.C. § 1988 and/or Rule 54.

Miscellaneous. Plaintiff requests that witnesses be sequestered during trial until released by
the Court from further testimony. The defendant has agreed to have available their employees
including Kelly Chapman, Robert Waite, Tim Chapman and Kea Dowd. Defendant has

subpoenaed the minor Luis and the sheriff Rodriquez and has agreed to share that subpoena so

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as to allow the Plaintiff to call these individuals as part of their case in chief without serving
yet another subpoena

Order of Wimesses : Plaintiff will coordinate the order of witnesses , especially those under
subpoena and the district employees, with the Defendant and advise the court according to
Rule.

A BRIEF SUMMARY OF THE CASE HISTORY SUPPORTING P.R.’s
TITLE IX CLAIM

The detailed recitation of facts with reference to documents and depositions as
contained in the Court’s Order Denying Motion for Summary Judgment is far more complete
than what is stated here. 0n1y a scant overview is provided here to set the stage for

application of case law prior to trial.

P.R attended the eighth grade at Shoshone Middle School during the 2016-2017
school year. That same year, L.C. was a junior attending Shoshone I-Iigh School. The schools
share the same campus in Shoshone, Idaho. P.R. first met L.C. in December of 2016. At that

time, P.R. was 13, and L.C. was 16.

On the early aftemoon of Tuesday, April 25, 2017, Kelly Chapman, the school
principal, entered the computer lab at Shoshone High School and found P.R. and L.C.
together, watching Netflix. (as they represented). She sent them both back to their respective
classrooms Later that day, Chapman spoke with the school counselor, Ms. Schroeder, about
walking in on the two students Chapman expressed it was odd the two students were there
because one was in middle school and one was in high school, and they should not have been

together in that location.

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Chapman wanted to check on what the two students had been doing, so she accessed
the videotape from the lab surveillance camera from earlier in the day, Upon review of the
tape Chapman viewed the two students engaging in sexual activity before she walked in.

Upon learning of the sexual activity Chapman contacted law enforcement

Before viewing the videotape on April 25, 2017 Chapman did not know or suspect that
P.R. and L.C. had engaged in sexual activity. The record contains no evidence that anyone
else in the Shoshone School District was aware of his or her activities No claims are being
made against the district on the basis that they should have known about and prevented this

from occurring

ARer classes on April 25 two Lincoln County officers arrived at the school and met
with Chapman to discuss how to proceed The officers and Chapman decided to interview the
students the next day with their parents in attendance On the morning of Wednesday April

26, 2017, P.K was interviewed in Chapman’s office with her mother S.R. present

P.R. remembers “getting asked what had happened in the computer lab and they had
only like, saw the video of`, like the 25th and so when I said that we had had sex, Ms.
Chapman was like no, you guys didn’t, like, and she just hadn’t checked like, the videos like,
from before.” At that point, it appears S.R., Chapman, and the officers reviewed the video

footage from the computer lab taken the prior day on Monday, April 24, 2017 .

After P.R.’s interview concluded P.R. was sent to the hospital with her mother and
another law enforcement officer where she received a physical examination S.R. was
informed that P.R. would be referred to CARES, a regional organization that assists those

sexually assaulted

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Later on Wednesday April 26, 2017, law enforcement officers interviewed L.C. with
his parents in attendance The officers informed Chapman that L.C.’s conduct would be

charged as lewd and lascivious conduct.

On Thursday April 27, 2017 L.C. was arrested at school and escorted off the school
premises L.C. was then suspended from school for nine school days. ( In controversy as to

how many days or time he actually did not go to the school).

Chapman testified in deposition that she reviewed the school handbook prior to
determining L.C.’s disciplinary consequences Chapman interpreted L.C.’s behavior as falling
within the school handbook’s disciplinary policy prohibiting public displays of affection and
inappropriate sexual behavior Because the Shoshone schools are on a Monday through
Thursday schedule, the suspension lasted from Monday, May 1, through Monday, May 15,
2017. This was the maximum suspension Chapman believed she was able to impose under

state law.

Chapman did not recommend further discipline for L.C. alier imposing the nine-day
suspension and Robert Waite the Superintendent and Title D( officer, agreed with her

recommendation L.C. returned for half days on May 16, 2017.

Waite and Chapman maintained in deposition that they discussed how to handle L.C.’s
return to school after his suspension concluded In deposition Waite testified that the school
needed information from P.R.’s family, because “[w]e didn’t know at this point the nature of
the relationship” between P.R. and L.C. Both Chapman and Waite also stated in deposition
that they had questions related to whether P.R had consented to engage in these sexual acts.

No contemporaneous notes exist evidencing that concem.

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Sometime shortly alter the interviews with the students Waite reportedly met with
Chapman and the two reportedly discussed the situation Waite and Chapman maintained in
their depositions that they discussed the need to conduct an investigation separate from the
police investigation. However, no further investigation ensued and no written investigation

report was prepared

The only independently drafted document was a letter regarding L.C.’s suspension that
was sent to L.C.’s parents Other than Chapman’s handwritten notes taken at various times
which as to time and date are not documented, school officials did not prepare a written report
concerning the events of April 24 and 25, 2017 or their planned actions to prevent further
harassment, prevent retaliation, remedy any harm to P.R., or address aspects of the school
climate that may create a hostile environment for P.R. upon her return to school. This was
significant since the male was a star athlete; his father a coach and recrimination could be

anticipated

In deposition Waite testified that he and Chapman decided Chapman would meet with
P.R.’s family to determine the best way to proceed However, Waite and Chapman did not
discuss a purported claim that they relied upon P.R.’s family to tell them the family’s decision
whether and when to send P.R. back to school although they had made a plan for L.C. to
come back. Nor is there written documentation of the contingency planning for P.R.s return as

they claimed to have discussed

In deposition Waite testified that he and Chapman discussed three options for P.R. to
finish the remainder of the 2016-17 school year. One option would be to work from home and
get homework assignments from her teachers; the second would be to take her grades as they

were and be done for the school year and the third option would be resuming attendance at the

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middle school, at which point a discussion would occur concerning how to keep L.C. and P.R.

separated There is no written evidence collaborating these discussions

Chapman met S.R. on or about May 1, 2017. Chapman testified in deposition that she
explained that P.R. could return to school, she could continue doing what she was doing by
obtaining homework assignments, or she could be done for the year ; meaning she could
receive the grades she had earned and complete the eight grade without returning to school or

completing more homework.

S.R. recalls the first meeting differently She states that CARES told her to keep P.R.
out of school until a May 9 meeting following the examinations by CARES and that this was
the arrangement decided upon However, she will testify that she was told only of two

options-obtain homework assignments or be done for the year

At the second meeting in the first week of May Sheriff Rodriquez was present at
S.R.‘s request to translate and help her because English is S.R’s second language and she was
extremely upset that P.R. was not going to be able to return to school. P.R was also present
P. Both S.R. and P.R. will confirm they were told that P.R. had two options-physically
leaving the school and receiving her assignments at home or simply accepting grades then
existing; that returning to school was never offered Both S.R. and P.R recall vague discussion
of a safety plan, which Chapman later in deposition stated was not for her at all but other
students when L.V. retumed to school, P.R. received homework only “two times.” S.R. or her
son Miguel stopped by the school each Monday to obtain homework for P.R Perhaps one
partial lesson was handed to them; noting further was given to either to take home for P.R.

Chapman testified in deposition that she requested P.R.’s teachers to send homework

assignments to the school office “as necessary,” although she never checked to see if that

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happened Chapman could not identify how many lessons were sent home to P.R between
April 27 and May 23. Chapman did not oversee or monitor the sending of any lessons
Further when one teacher asked Chapman on May 23, 2017 via email whether she was to
continue sending homework for P.R. to the office, Chapman responded via email: “Yes, or
you could tell her she can be done.”

Chapman testified that L.C.’s return could not be determined until there was
communication from P.R.’s family regarding returning to school. Chapman claimed no
Rodriquez family member told her the family’s plans to have P.R. return to school, Chapman
admitted that she made no attempts to contact the family; there was no “plan” prepared for
P.R. if she chose to attend school after April 26th neither for the remainder of that year nor
for the fall semester of 201 7.

In deposition, Chapman testified that upon L.C.’s return to school afier his
suspension on May 16, 2017, the school put in place a plan for him. The “plan” allowed L.C.
to attend required classes in the morning with supervision at all times on school grounds and
that if P.R returned, there would be filrther restrictions

There is no written documentation of any such “safety plan” except Chapman’s
cryptic handwritten notes Nothing was sent to L.C.’s parents or school staff regarding any
plan, or identification of who was responsible for supervision Finally, Chapman testified
that this safety plan had nothing to do with P.R.’s attendance at school because it was
presumed that P.R. was not returning to school.

Under state law and district policy an absence of more than nine days would
normally disallow a student from being considered to have completed a grade level and

move to the next grade.

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Under Idaho law, there are provisions for students who are referred to as
“homebound students.” These are students who are still enrolled in school but for reasons
such as medical are not able to attend school. To ensure that these students are well
supported and able to keep up with their studies, the school assigns a teacher to regularly
meet with the homebound student to ensure that they are progressing No such services were

offered to P.R.

P.R. did not attend school from April 26, 2017 until the end of the school year.
Further, no homebound schooling approach with a visiting teacher was considered to ensure
that P.R. was receiving assignments from her teachers; or receiving instruction and that her

educational progress was monitored

For the fourth quarter P.R,’s grades consisted of five F’s, two D’s, one A, and one B.
Her final grades from her second semester consisted of four D’s, one F, one B, an A+ in PE,
and two C’s. P.R. was promoted to the next grade level, despite her low attendance and failing
grades Despite these low grades and the predictable concerns for her success in the next
school year, no tutoring was provided to P.R. during the summer. Chapman promoted her as
per her personal discretion; it had nothing to do with completing school classes or achieving

passing grades

Chapman and Waite knew that L.C. was returning to school for his senior year. L.C.,
who played soccer and basketball for Shoshone High School, was later informed by Tim
Chapman, the school athletic director, husband of Chapman that he could not play high school
sports his senior year. That summer multiple efforts were made by L.C.’s attorney and others
to allow L.C. to play soccer. L.C’s father was a volunteer soccer coach for the team. In

deposition Chapman (principal) denied that L.C.’s father was ever a paid, part time or

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volunteer coach. Her testimony was confirmed by denials of such knowledge in

interrogatories and requests for admissions

The high potential for vicious retaliation against P.R. by L.C.’s teammates and other
students at the high school, due to the removal of L.C. from the team should have been readily
apparent to these school administrators, especially as one was married to the athletic director.
L.C.’s removal from the team placed the success of the team at risk. This also placed the

ability ofL.C. to receive a scholarship at risk.

There was no consideration of the high potential for retaliation against P.R. by L.C.’s

teammates and classmates.

Despite the obvious potential for retaliation and the requirement under Title D( for the
school to take steps reasonably calculated to prevent retaliation, no action was taken by either
Chapman or Waite to address this serious potential for additional harm to P.R. from L.C.’s

teammates or other students

When school staff retumed from the summer break on repeated occasions S.R.
personally went to the school to talk with Chapman and get ready for P.R. to enroll that fall.
She will testify that Chapman made herself unavailable; scurried away when she saw her in
the halls and even after she demanded of the front office staff that she be granted an audience,

Chapman nor the staff made the slightest attempt to do so.

S.R sent an urgent email in August of 2017 asking to speak with Waite. Upon
receiving the email Waite responded to Chapman, “is this the [L.C.] situation gir ,” to which
Chapman responded, “yes I believe so.” Both had apparently totally forgotten the entire
cascade of events Nothing appears in emails or from testimony of Chapman or Waite of the

slightest interest in predictable retaliation or remedying the grievances Chapman commented

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she later learned Waite had met with S.R. who informed S.R. that “she could enroll [P.R.]
right now if she wanted to.” Chapman claimed her elucidation came fi'orn the school
secretaries There is no written note or record of any such offers S.R. will testify that the
meeting lasted for less than five minutes and Waite was dismissive with the comment that “I

can do nothing for you”.

The charade that P.R. was ‘homeschooled” is mystifying; A “homebound student” has

support from a school staff member. None was mentioned

In her deposition Chapman testified that at some point in August of 2017 she learning
that P.R. would be “homeschooled”. However records indicate that as 0 September ll, 2017,
Shoshone High School sent P.K’s records to Gooding High School. Chapman made no
follow up inquiry.

Chapman testified that had P.R. returned to the high school she would have set up a
meeting and implemented a safety plan, but because she was informed P.R. would be

homeschooled, that meeting never needed to occur.

As for L.C.’s return to high school in the fall of 2017 Chapman testified that she
recalled a meeting in August with L.C. when she informed him of supervision at school while
attending classes Nothing was communicated to any teacher she did not recall whether she
informed L.C.’s teachers that he could not be in an unsupervised class There is no written

documentation of this arrangement and no evidence that restrictions were ever implemented

LEGAL FRAMEWORK

This case involves the application of legal standards governing claims pursuant to

Title IX. As outlined by this court:

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The United States Supreme Court established four requirements for the
imposition of school district liability under Title D{ for peer harassment First,
the school must exercise “substantial control over both the harasser and the
context in which the known harassment occurs.” Id. at 645. Second, the
sexual harassment must be “so severe, pervasive, and objectively off`ensive,
that it can be said to deprive the victims of access to the educational
opportunities or benefits provided by the school.” Id. at 650. Third, the school
must have had “actual knowledge” of the harassment Id. And fourth, the
school district is liable only if “its deliberate indifference subjects its students
to harassment That is, the deliberate indifference must, at a minimum, cause
students to undergo harassment or make them liable or vulnerable to it.” Id at
644-45. (internal quotation marks and citations omitted)

The school district clearly had substantial control over both the harasser and the
context in which the harassment occurred As the sexual assault resulted in criminal charges
against L.C., this assault clearly met the standard of several, pervasive, and objectionably
offensive. The school officials did not have actual knowledge of any concerns prior to
discovering evidence of the assault Plaintiff is not alleging any deliberate indifference to the

situation prior to discover of the assault

As further outlined by this court, in Davis, the United States Supreme Court explained
that “deliberate indifference” occurs “only where the recipient's response to the harassment or
lack thereof is clearly unreasonable in light of the known circumstances.” Davis, 526 U.S. at
648. The Supreme Court made it clear that school districts are not required to “purge” their
schools of “actionable peer harassment” or engage in “particular disciplinary action.” Id. at

648-49.

As further noted by this court1

Deliberate indifference requires “knowledge that a harm to a federally
protected right is substantially likely, and a failure to act upon that
likelihood.” D.A. v. Meridian Joint Sch. Dist. No. 2, 289 F.R.D. 614, 622-23
(D. Idaho 2013) (quoting Duvall v. County of Kitsap, 260 F.3d 1124, 1139
(9th Cir. 2001)). The public entity's failure to act must be a result of more
than mere negligence; rather, it must involve a measure of deliberateness

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Duvall, 260 F.3d at 1139. But “deliberate indifference” is also “satisfied by
something less than acts or omissions for the very purpose of causing harm or
with knowledge that harm will result.” Farmer v. Brennan, 511 U.S. 825, 835
(1994). “Deliberate indifference will often be a fact- laden question,” for
which bright lines are ill suited Doe v. Taylor Indep. Sch. Dist., 15 F.3d 443,
457 n. 12 (5th Cir. 1994); see also Doe A. v. Green, 298 F. Supp. 2d 1025,
1036 n. 4 (D. Nev. 2004) (stating that no bright line rule in Nrnth Circuit
cases defines “deliberate indifference,” and finding the same from a review
outside the circuit). Liability is imposed upon a federal funding recipient’s
deliberate indiff`erence, because “the deliberate indifference constitute[s]
intentional discrimination on the basis of sex.” Jackson v. Birmingham Bd. of
Educ., 544 U.S. 167, 182 (2005).

Determination of Deliberate Indif`ference

A determination of whether the actions of the Shoshone School District school
officials met the standard of deliberate indifference will necessarily require an analysis of
their actions subsequent to the discovery of the sexual assault Plaintiff does not claim that the
school officials should have been aware of and stopped the serious sexual assault Rather, the
claims are based on the actions and inactions of the school officials following their knowledge
of the serious sexual assault that acted to denied her access to the educational opportunities or
benefits provided by the school, which Title IX is designed to protect As succinctly stated in
Zeno v. Pine Plains, 702 F.3d 655 (2nd Cir. 2012):

Deliberate indifference means that the defendant's response or lack of

response to the alleged harassment was clearly unreasonable in light of the

known circumstances Deliberate indifference may be found where a

defendant takes remedial action only after a lengthy and unjustifiable delay or

where defendant's response was so inadequate or ineffective that

discriminatory intent may be inferred In other words, deliberate indifference

requires a finding that the District's actions or inactions in response to known
harassment effectively caused further harassment to occur.

Plaintiff will present evidence that the jurors can consider, along with other evidence,
in their determination of whether the actions of the defendants were deliberately indifferent

The evidence plaintiff will submit will include district policies, state statutes governing school

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districts in Idaho, and the regulations and guidance issued by the U.S. Department of
Education's Oflice for Civil Rights related to how school districts are required to respond to

sexual harassment claims under Title IX.

ln the case of Jane Does 1~10 v. Baylor Univerisr'ty 240 F.Supp.3d 646, 659-660
(W.D. Tex. March 7, 2017), the court noted that while failure to comply with guidelines from
the OCR cannot alone demonstrate deliberate indifference, they are one consideration that
may be consulted when assessing the appropriateness of a school’s response The court stated
as follows:

“Second, Baylor argues that non-compliance with regulatory and
administrative guidance from the Department of Education (“DOE”)_ which
Plaintiffs reference in their Complaint- cannot serve as the basis for
establishing deliberate indifference While the Court agrees that a school’s
failure to comply with certain DOE guidelines generally cannot, alone,
demonstrate a school’s deliberate indifference see Gebser, 524 U.S. at 291-
92, it also agrees with numerous courts that DOE regulations may still be
consulted when assessing the appropriateness of a school’s response to
reports of sexual assault See, e.g., Butters v. James Madison Univ., - F.
Supp. 3d ---, 2016 WL 5317695, at *11 (W.D. Va. Sept. 22, 2016)

(“[A] school’s compliance . . . with the [Dear Colleague Letter] can be a
factor that the court considers”); Doe v. Forest Hills Sch. Dist., No. l;l3-CV-
428, 2015 WL 9906260, at *10 (W.D. Mich. Mar. 31, 2015) (“ Although
failure to comply with Title IX guidance does not, on its own, constitute
deliberate indifference it is one consideration”).”

Plaintiff's position in the introduction of these policies, statutes, regulations and
guidance is that, while failure to comply with these cannot alone establish deliberate
indifference, these policies, state statutes, and federal regulations and guidance, along with
other evidence, can be considered in an assessment of whether the actions or inactions of the

defendants were deliberately indifferent

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Plaintiff is not presenting this evidence in the context of a claim under 42 U.S. C 1983,
as this claim was dismissed Rather this evidence will be introduced to provide a basis for the
jury to determine whether the defendant's response or lack of response to the alleged
harassment was clearly unreasonable in light of the known circumstances The known
circumstances include the directives to school officials regarding the actions they are required
to take prior to excluding a student from attending school for over a month, the services that
are required if they are establishing a situation where a student is receiving homebound
instruction and how they are supposed to respond in situations of known sexual harassment

or assault

Many cases brought under Title IX involve situations where the school officials had
knowledge of circumstances of the potential for sexual harassment and the deliberate
indifference to the situation See for example, Doe A. v. Green, 298 F. Supp. 2d 1025, 1036 n
4 (D. Nev. 2004), which was cited in the Court’s decision on the Motion for Summary
Judgment. This case is different because the focus is on how the district's response to
discovery of sexual assault was deliberately indifferent and as a result, denied plaintiff her

right to receive an education

As also noted by this court, “Deliberate indifference will often be a fact laden
question,” for which bright lines are ill suited Doe v. Taylor Indep. Sch. Dist., 15 F.3d 443,
457 n. 12 (5th Cir. 1994), which stated that stating that "no bright line rule in Ninth Circuit
cases defines “deliberate indifference," Among the "f`acts" that must be considered are the

policies, statutes, regulations, and guidance which govern the actions of school officials

It is also clearly recognized that school districts are not required to “purge” their

schools of “actionable peer harassment” or engage in “particular disciplinary action.” Davis at

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648-49. Thus, the evidence of the policies statutes regulations and guidance will be
introduced along with other evidence, to allow the jury to be informed of all relevant facts
which are a component of the known circumstances in the context of allowing them to
determine whether the actions or inactions of the defendants constituted deliberate

indifference

Ample guidance is provided to school districts especially to Title IX coordinators on
their responsibilities in situations of suspected sexual assault that may have created a
hostile environment and how school officials are required to respond to a finding of a hostile
environment In 2015, The U.S. Department of Education’s Office for Civil Rights (DOE)
issued Title IX Resource Guide, which on its site it described as “a useful tool for
schools and their Title IX coordinators to understand schools’ obligations under Title IX.”
Section 4 of this document addresses Sex-Based Harassment pp 15, 16 and 17 (Attached

Hereto) This document states:

“Title IX prohibits sex-based harassment by peers employees or third parties
that is sufficiently serious to deny or limit a student’s ability to participate in
or benefit from the recipient’s education programs and activities (i.e., creates
a hostile environment). When a recipient knows or reasonably should know of
possible sex- based harassment, it must take immediate and appropriate steps
to investigate or therwise determine what occurred If an investigation reveals
that the harassment created a hostile environment, the recipient must take
prompt and effective steps reasonably calculated to end the harassment,
eliminate the hostile environment, prevent the harassment from recurring,
and, as appropriate, remedy its effects”

While failure to comply with these regulations and guidance alone cannot serve as the
basis for establishing deliberate indifference, this DOE guidance provides an excellent basis
for the jurors along with other evidence, to consider whether the actions and inactions of the

defendants should be considered to have been deliberately indifferent

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Plaintiff requests Judicial Notice of key Title IX regulations and guidance provided to
schools by DOE. Specific portions of these regulations and guidance provide the basis for

Jury Instructions in this case; the language has been simplified for the benefit of the jurors

The extensive document Revised Sexual Harassment Guidance: Harassment of
Students by School Employees, 0ther Students, or 771ird Parries (2001), has been excerpted as
an exhibit to set forth pages 15, 16 and 17, which contain the specific provisions related to the
school’s response to sexual harassment

In 2015, The U.S. Department of Education’s Office for Civil Rights issued Title IX
Resource Guide, which on its site it described as “a useful tool for schools and their Title D(
coordinators to understand schools’ obligations under Title IX.” This document has likewise
been excerpted to set forth only the pages that relate to the school response to sexual
harassment Section 4 of this document also provides links to other relevant OCR
documents One of these documents Dear Colleague Letter: Harassment and Bullying
(October 26, 2010), provided a more extensive description of the requirements of the school
in situations of harassment These are set forth for the Court’s consideration related to the
critical importance of this guidance In addition note that in the regulations themselves
ample flexibility is provided to school officials in making determinations based on the facts
presented, for how they should respond It is for this reason that these regulations and
guidance documents are provided as “one consideration.” Pages 2-3 (footnote omitted)

When responding to harassment a school must take immediate and appropriate
action to investigate or otherwise determine what occurred The specific steps in
a school’s investigation will vary depending upon the nature of the allegations
the source of the complaint the age of the student or students involved, the size

and administrative structure of the school, and other factors In all cases
however, the inquiry should be prompt, thorough, and impartial.

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If an investigation reveals that discriminatory harassment has occurred, a school
must take prompt and effective steps reasonably calculated to end the
harassment eliminate any hostile environment and its effects and prevent the
harassment from recurring These duties are a school’s responsibility even if the
misconduct also is covered by an anti-bullying policy, and regardless of
whether a student has complained asked the school to take action or identified
the harassment as a form of discrimination

Appropriate steps to end harassment may include separating the accused harasser
and the target, providing counseling for the target and/or harasser, or taking
disciplinary action against the harasser. These steps should not penalize the
student who was harassed For example, any separation of the target from an
alleged harasser should be designed to minimize the burden on the target’s
educational program (e.g., not requiring the target to change his or her class
schedule).

In addition depending on the extent of the harassment the school may need to
provide training or other interventions not only for the perpetrators but also for
the larger school community, to ensure that all students their families and
school staff can recognize harassment if it recurs and know how to respond A
school also may be required to provide additional services to the student who
was harassed in order to address the effects of the harassment particularly if the
school initially delays in responding or responds inappropriately or inadequately
to information about harassment An effective response also may need to include
the issuance of new policies against harassment and new procedures by which
students parents and employees may report allegations of harassment (or wide
dissemination of existing policies and procedures), as well as wide distribution
of the contact information for the district’s Title IX and Section 504/Title H
coordinators

Finally, a school should take steps to stop further harassment and prevent any
retaliation against the person who made the complaint (or was the subject of the
harassment) or against those who provided information as witnesses At a
minimum, the school’s responsibilities include making sure that the harassed
students and their families know how to report any subsequent problems
conducting follow-up inquiries to see if there have been any new incidents or
any instances of retaliation and responding promptly and appropriately to
address continuing or new problems

Compensatory Damages
Plaintist request for compensatory damages includes damages associated with the

mental and emotional suffering plaintiff experienced and can be reasonably expected to

experience in the future, the reasonable value of the mental health care and treatment needed by

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the plaintiff and reasonably certain to be needed in the future: the losses associated with the
denial of educational opportunities and benefits sustained by plaintiff or likely to be sustained by

her in the future, and the losses or potential losses associated with the damage to her reputation

In the case of Zeno v. Pine Plains CSD 702 F.3d 655 (2nd Cir. 2012), the jury found the
District liable for violating Title VI of the Civil Rights Act of 1964 (“Title VI”) and awarded
Anthony $1.25 million in damages which the court reduced to $1 million The defendants
objected to the reduced $l million award on three grounds arguing that the plaintiff failed to
present sufficient evidence to sustain the $1 million award, established only “garden variety”

damages and far exceed those in other cases of student-on-student harassment

The court’s response provides helpful insight into the appropriateness of such
compensatory damages

First, we conclude that the record contained sufficient evidence to uphold the
jury's award Evidence presented at trial, including the testimony of Anthony, his
mother, and Maxey (of the N.A.A.C.P.), revealed Anthony's increasing
frustration loneliness, and other emotional anguish While Anthony's testimony
alone arguably might not support his claim of emotional distress see, e.g., Annis
v. Cnty. of Westchester, 136 F.3d 239, 249 (2d Cir.1998) (“[T]he only evidence
of [the victim's] emotional distress-her own testimony-is insufficient to
warrant an award of compensatory damages for that injury.”), others who
testified corroborated Anthony's suffering and distress see, e.g., Patrolmen’s
Benevolent Assn., of the City of N.Y. v. City of N.Y., 310 F.3d 43, 56 (2d
Cir.2002) (damages for emotional distress warranted if plaintiffs testimony is
corroborated by other evidence). In addition evidence of medical attention is not
required to establish damages for emotional distress See Miner v. City of Glens
Falls, 999 F.2d 655, 663 (2d Cir.1993).

Moreover, Anthony demonstrated that he suffered “substantially adverse
educational consequences” as a result of the District’s deliberate indifference
Appellee Br. at 69. Anthony's prolonged harassment resulted in an educational
environment that was disparater hostile, depriving him of a scholastic benefit
Hayut, 352 F.3d at 750. Anthony also accepted the IEP diploma rather than
attempt to satisfy the Regents requirements As a consequence, the jury
reasonably could have found that his ability to attend college or enter the
workforce was significantly and adversely impaired

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Second, as to the District's argument that Anthony has proved no more than the
“garden variety” damages of the type found in employment discrimination cases
the fact is that this is not an employment discrimination case, nor are the
damages of the “garden variety” type Anthony was not an adult losing sleep due
to workplace stress Rather, he was a teenager being subj ected_at a vulnerable
point in his life_to three-and-a-half years of racist, demeaning threatening and
violent conduct Furthermore, the conduct occurred at his school, in the presence
of friends classmates, other students and teachers The jury reasonably could
have found that the harassment would have a profound and long-term impact on
Anthony's life and his ability to earn a living

Third, as to the District's contention that the $1 million award far exceeds other
awards and “shock[s] the judicial conscience,” Manganiello, 612 F.3d at 168, we
are not persuaded lndeed, the district court‘s award as reduced was “located
within the range of permissible decisions.” Id. at 165 (intemal quotation
omitted). A review of cases in the educational context indicate that verdicts
range from the low six figures to the mid-six figures to as much as $1
million.17 Given the severity, duration and egregiousness of Anthony's
unchecked harassment his reduced compensatory damages award was not
outside the “range of permissible decisions.” In re Sims, 534 F.3d 117, 132 (2d
Cir.2008) (intemal quotation omitted); Ismail, 899 F.2d at 187 (appellate review
focuses on whether the verdict lies “within [the] reasonable range”). Because of
the limited nature of our review and the fact- intensive nature of this case, see
Gasperini v. Ctr. for Humanities, Inc., 149 F.3d 137, 141 (2d Cir.1998)
(“Deference is justified because the district judge is closer to the evidence, and
is therefore in a better position to determine whether a particular award is
excessive given the facts of the case.”), we decline to upset the district court‘s
decision

Given the ongoing and objective offensiveness of the student-on-student
harassment here, we hold that the district court did not abuse its discretion in
determining that the record could support an award to Anthony of $l million
See In re Sims, 534 F.3d at 132.

Applying these standards to the situation in the present case, plaintiff is asldng for

compensatory damages associated with the following losses:

l.

The mental and emotional suffering Pauline experienced and could be reasonably
expected to experience in the future, including the anguish, insult, distress
invasion of privacy, grief`, embarrassment humiliation indigrrity, loss of

enjoyment of life, anxiety, and depression

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2. The reasonable value of the mental health care and treatment needed by and
provided to the Pauline and reasonably certain to be needed and provided in the
future;

3. The losses associated with the denial of educational opportunities and benefits
sustained by Pauline or likely to be sustained by her in the future

4. The losses or potential losses associated with the damage to her reputation
suffered by Pauline and the prospective limitations on her future educational,
professional, or community activities due to this damage to her reputation or
based on her reasonable anticipation of fear of the reactions of others due to the

damage to her reputation

REQUEST FOR JUDICIAL NOTICE

Pursuant to Federal Rule of Evidence 201(b), Plaintiffs respectfully request that the
Court take judicial notice of the following documents that have been released by the U.S.
Department of Education’s Office for Civil Rights (OCR) that provides this guidance to
school officials and Title IX coordinators OCR enforces among other statutes Title IX of the
Education Amendments of 1972. The documents include:
l. Revised Sexual Harassment Guidance: Harassment of Students by School
Employees, 0ther Students, or Third Parties (January, 2001).
2. "Dear Colleague Letter” (January 25, 2006) from Assistant Secretary for Civil
Rights Stephanie Monroe, reminding recipients of the standards applicable to
OCR's enforcement of compliance in cases raising sexual harassment issues
3. "Dear Colleague Letter ” (October 26, 2010) from Assistant Secretary for Civil

Rights Russlynn Ali, concerning recipients' obligations to protect students

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from student-on-surdent harassment on the basis of sex; race, color and national
origin; and disability. The letter clarifies the relationship between bullying and
discriminatory harassment, provides examples of harassment and illustrates
how a school should respond in each case.

4. "Dear Colleague Letter” (April 24, 2015) from Assistant Secretary for Civil
Rights Catherine E. Lhamon to school districts colleges and universities
reminding them of their obligation to designate a Title D{ coordinator. The
Dear Colleague Letter is accompanied by a Letter to Title IX Coordinators that
provides them with more information about their role and a Title IX Resource
Guide that includes an overview of Title IX’s requirements with respect to

several key issues

Plaintiff also requests the court as per F.R.C.P 201 to take judicial notice of Idaho
statutes and regulations of the Idaho Department of Education:

l. TITLE 33 EDUCATION CHAPTER 2 ATTENDANCE AT SCHOOLS 33-
205. DENIAL OF SCHOOL ATTENDANCE.

2. TITLE 33 EDUCATION CHAPTER 5 DISTRICT TRUSTEES 33-512(1).
GOVERNANCE OF SCHOOLS.

3. TITLE 33 EDUCATION CHAPTER 10 FOUNDATION PROGRAM -
STATE AID -- APPORTIONMENT 33-1003A. CALCULATION OF
AV'ERAGE DAILY ATTENDANCE.

4. Idaho Rules Goveming Administration 250. PUPIL ACCOUNTING AND
REQUIRED INS'I'RUCTIONAL TIME. 05. Day of Attendance (ADA) -
Grades One Through Twelve (1- 12).

Copies are included in the Plaintist exhibits

Federal Rule of Evidence 201(b) provides that this Court may take judicial notice of

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facts that are “not subject to reasonable dispute” because they are either “generally known
within the trial court’s territorial jurisdiction” or “can accurately and readily [be] determined

from sources whose accuracy cannot reasonably be questioned.”

The documents from DOE and Idaho code and regulations are properly the subject of

judicial notice They are published on government websites and not subject to reasonable

dispute

VIDEO TAPE EVIDENCE TO BE SUBMITTED TO THE COURT

The defendants furnished to Plaintifi’s counsel, at the initiation of this case, a lengthy
videotape taken by the surveillance camera of the sexual acts that took place in the high school
computer laboratory. Plaintiff counsel recently carefully reviewed those videotapes to quite
frankly confirm that Defendants were not misleading counsel or the court in stating that the
sexual acts were consensual if not frankly loving in nature The defendants argued that the sex
was intimate, and certainly not to be considered to be a rape; the court made a note in the
summary judgment decision remarking that it was plaintiff who used the rape nomenclature, very

vigorously disputed by the defendants

It is therefore rather astounding to discover on the videotape scenes of the student on
student encounters which were chilling and horrifying. L.C. can clearly be seen grabbing P.R.
by the hair and both forcing and guiding her on oral and anal sex as well as viciously bending her
backward by the neck over a chair, pining her head back so far that her head and face are draped
over the back of the chair with his arm across her neck. P.R. had so testified in her deposition but
her credibility was being questioned by defendant’s counsel questions directly implying that they

implying she was aware that no forced conduct occurred

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The video tapes are relevant to several key issues including extensive damages in that
she had these scenes dancing in her brain while banished from the school and staying alone in
the family home for weeks on end; she considered her school exclusion was punishment; that the
entire episode was “her fault”; inevitably leading to a well-founded belief that both teachers and
parents would consider her a slut or horror who readily consented to all of the sex acts and
imperiled the iirture of the schools soccer star, L.C.. Her therapy for one and a half years has

been required by her Post Traumatic Stress Disorder diagnosed and treated by Andrea Madson.

Her post-traumatic syndrome and other physiological mental illness will be described in
detail by her trauma specialist Madson Madson is employed by A-l Solutions with offices
throughout the magic valley. The defense took her deposition and of course have all of the
treating providers health records Irnplied by defense counsel, both in argument and in the
deposition of Louis was that the sex was entirely consensual and therefore L.C. presented little or
no danger to the remainder of the student body which explains why he was given the suspension
of a few days from the school and allowed to return to take his core classes and ultimately
graduate from high school. In essence, Luis is portrayed as a participant in normal adolescent

social and sexual conduct

lfthe jury was to believe that P.R. was sexually aggressive, even though only 13 years of
age, her character and credibility are seriously damaged For these reasons the video clips of
certain sexual scenes should be displayed to the jury. The pertinent ones are approximately 10
minutes in length and will be displayed by Mr. John Glenn Hall using the courtroom technology
system. The clips being requested to be allowed as evidence will be provided to the court under
seal at the pretrial conference so that the court and counsel know their contents beforehand It is

well-established law that video taped evidence is readily received in federal courts when it is

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relevant material and not misleading Furthermore, the school district cannot now complain that
it is highly prejudicial since they assert in depositions briefs and arguments to the court that
issues of character and consent were so overriding in this case that indeed the lawsuit should

never have been filed

L.C. testified in deposition that P.R. had sexual encounters with other soccer players
painting her as promiscuous and himself an innocent teenager whose “hormones” drove him to a
simple mistake It is beyond question that welcomed sexual advances and past sexual activity has
no bearing upon the emotional trauma from sexual acts and conduct that is unwelcome and
forced In this case, the sexual violence and principal Chapman’s reaction to it (Chapman
watched the video) considering it “intimate” was devastating to her mental and physical well-
being established by the medial records and her therapist’s testimony. On point is Turong v.
Smith, 183 Fed. 273-275 (D. Colo. 1998), (by in evidence, the plaintiffs prior sexual activity

with third parties has no bearing on the issue of whether she consented to sexual violence).

The evidential status of the videotape has been addressed in the Motion in Limine,
eliminating any assertions by defense counsel of surprise that it would be offered at all. It may be
that defense counsel did not in fact watch the videotapes and is simply accepted the version of

those events as described by Chapman, Waite, and L.C.

Noteworthy is the abusive contact of L.C. and the mystifying decisions by Chapman and
Waite, to treat L.C. favorably; attend and finish high school only attending half days and taking
courses online; taking courses from Mr. Waite off campus etc. Another motive came to light;
that the status of L.C.’s father as the soccer coach of the championship team might be imperiled
if L.C. was expelled and/or suspended from the high school, which without question should have

occurred (the father continues to coach to this day). Additional motive for hiding the coaching

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status of the father comes into focus when the scenes in the video tapes are compared to the
testimony of L.C., Chapman and Waite that there was a romantic, intimate relationship and the

terrible truth that tinally came out in L.C.’s second deposition and the videotapes were viewed.

JURY INSTRUCTIONS AND VERDICT FORM

The Ninth Circuit Model Jury Instructions, with additional instructions that specifically
address the Title IX claims in accordance with case law and the DOE/ OCR regulations are
provided Copies are attached for ease of reference in situ, and of course in the instruction

packet

A Verdict Form is separately provided. In a Title IX case the form interrogates the
following issues: whether plaintiff was subjected to harassment based on sex; whether the
harassment was severe, pervasive, and objectively offensive; whether defendant had control over
the harasser and the environment in which the harassment occurred; and whether defendant had
actual knowledge. None of these issues are in disputc. The instruction is more extensive than as

stated here but does contain key questions on the following:

The Verdict Form asks that after your deliberation, you in writing answer these questions

1. Did you find that defendant Shoshone School District acted with deliberate
indifference after it became known to them that plaintiff P.R. had been sexually
assaulted by another student while at school?

Yes No

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If you answered “yes,” continue on to Question 2. If you answered “no,” your
deliberations are complete Have your [presiding juror] [foreperson] sign and date

the verdict form.

2. Did you find that as a result of the school district’s actions plaintiff P.R. was
deprived of access to equal educational benefits or opportunities provided by
defendant Shoshone School District?

Yes No

 

Ifyou answered “yes” continue on to Question 3. Ifyou answered “no,” your
deliberations are complete Have your [presiding juror] [foreperson] sign and date

the verdict form.

3. What amount do you award plaintiff P.R. as damages?

 

Jury Foreman Dated of April 2019.

 

SUBMISSION OF TRIAL BRIEF AND VERDICT FORM

DATEDrhisQ.S dayof !‘]MA ,2019.
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CERTIFICATE OF SERVICE

I certify that on 2 Sday of M 2019, I caused a true and correct

copy of this Plaintiff S.R.’s Trial Brief to be served as indicated below:

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